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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

DEUTSCHE BANK NATIONAL TRUST
COMPANY, AS TRUSTEE FOR
AMERIQUEST MORTGAGE SECURITIES
INC., ASSET-BACKED PASS-THROUGH
CERTIFICATES, SERIES 2004-R10,

Plaintiff, Civil Action No. 4:19-cv-00825

VS.
SAIHAT CORPORATION AND

FAIRMONT PARK EAST
HOMEOWNERS’ ASSOCIATION,

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Defendants.

UNOPPOSED DEFENDANT’S EMERGENCY MOTION FOR LEAVE OF COURT

Saihat Corporation (“Saihat’) Defendant files this Emergency Motion For Leave of Court.
NATURE OF MOTION
1. Because of problems with the Pacer internet filing system which occurred on Friday,

July 31, 2020, Saihat was not able to timely file its Response to the Courts Order to Show cause.

2. For the reasons stated Saihat requests leave to file the Response after the Court’s
deadline.
BACKGROUND FACTS
3. On July 27, 2020, this Court entered a docket entry which required Sathat to “show

cause by July 31, 2020,”
4. Sathat prepared the required Response which was accompanied by an Affidavit from

Saihat’s attorney.
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5. Upon finalization of the Response and the Affidavit, Saihat attempted to file the
Response through the Court’s efiling system through Pacer.

6. Apparently there was a problem with efiling system or the Pacer website.

7. For reasons which were and are unknown to Saihat the Pacer system would not allow
the filing. Repeated attempts were made for several hours on Friday but the results were the same,
the Pacer system would not file the Response. The attempted filings started Friday afternoon and
continued through Friday evening.

8. Apparently there was a problem with efiling system or the Pacer website.

9. The filings were attempted by the office of Saihats attorney by Saihats attorney and
by two experienced paralegals.

10. Additional attempts were made over the weekend.

11. | When assistance was sought regarding problems with efiling the office was closed
and there was no response.

12. Apparently the problems on the Pacer website were finally resolved and Saihats
attorney was able to file the Response on Sunday, August 2, 2020.

REQUEST FOR LEAVE

13. Saihat requests leave to file the Response after the July 31, 2020, deadline.

14. In the docket entry the court stated that unless Saihat could show cause the Court
would consider terminating sanctions against Saihat.

15. InSaihat’s Response, Saihat believes that it has provided facts that it did not mediate
in bad faith and that terminating santions should not be imposed.

16. Saihat complied with the Court’s deadline and attempted to timely file the Reponse.
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17. In support of this Motion, Saihat has attached an email to Ms. Jennelle Gonzalez the
Court’s Case Manager which described the filing problems and attached a copy of the Response and
the supporting Affidavit. The email was dated and sent on July 31, 2020. This establishes that the
Response had been completed and was ready for filing in compliance with the Court’s deadline.

REQUEST FOR EMERGENCY CONSIDERATION

18. Because the Court’s deadline has passed, Saihat requests that this matter be

considered on an emergency basis.

WHEREFORE, Saihat requests that it be granted leave to file its Defendant’s Response to

the Court’s Order to show cause.
Respectfully submitted,

By:___ /s/ Jerry L. Schutza
Jerry L. Schutza
Texas State Bar No. 17853800
815 Walker Street, Suite 1453
Houston, Texas 77002
(713) 963-9988
(713) 963-0085 (Fax)
schutzalaw@yahoo.com

ATTORNEY FOR DEFENDANT SAIHAT CORPORATION
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SUBSCRIBED AND SWORN TO BEFO Ai, the undersigned authority, by the said
Jerry . Schutza tp certified which witness, my and seal of office, on this the 3vL day of
VA A , 2020.

*

Public in and for the State of Texas

JOHN G, GASTON
My Notary 1D # 5003854
Expires May 18, 2024

CERTIFICATE OF CONFERENCE

On August 3, 2020, I conferred with opposing counsel who does not oppose Defendants
request for leave of court.

/s/ Jerry L. Schutza
Jerry L. Schutza

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Affidavit was sent to opposing
counsel and all parties of interest via electronic service on August 3, 2020.

Via Electronic Service

Mark Cronenwett

/s/ Jerry L. Schutza
Jerry L. Schutza

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4:19-cv-00825 Yahoo Mail/Sent
@ Jerry Schutza <schutzalaw@yahoo.com> Jul 31 at 6:49 PM
To: jennelle_gonzalez@tx.uscourts.gov

Ms. Gonzalez

| have been attempting to file the attached response in this case for the past two hours. For reasons of which | am not aware the account will not allow me to file the
response. | have had help from two of my assistants and they have been unable to file the document. Pacer does not answer the phone.

lam sending you a copy so that you will be aware of my problem. The response is due today and | do not know what to do. | will continue to try to file.

Jerry L. Schutza
Attorney At Law

815 Walker, Suite 1453
Houston, Texas 77002
713-963-9988
281-851-1379 (cell)

Begin forwarded message:

From: "Gaston & Thanheiser, P.C." <gastonscanner@gmail.com>
Date: July 31, 2020 at 5:14:34 PM CDT

To: Jerry Schutza <schutzalaw@yahoo.com>

Subject: Send data from MFP12032076 07/31/2020 17:13

Scanned from MFP12032076
PUBLIC TEMPLATE GROUP
SCAN TO_JLS
Date:07/31/2020 17:13
Pages:14
Resolution:200x200 DPI

DO NOT REPLY

1File 724.4kB

DOC073120.pdf
724kB

DEFENDANT'S
EXHIBIT

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https://mail.yahoo.com/b/folders/2/messages/AA IwEdFXKksMXySt8AxnyC7JnJo?.sre=y... 8/3/2020
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DEUTSCHE BANK NATIONAL TRUST §
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INC., ASSET-BACKED PASS-THROUGH §
CERTIFICATES, SERIES 2004-R10, §
§
Plaintiff, § Civil Action No. 4:19-cv-00825
§
VS. §
§
SAIHAT CORPORATION AND §
FAIRMONT PARK EAST §
HOMEOWNERS’ ASSOCIATION, §
§
Defendants. §
ORDER
On , 2020, the Court considered the Emergency Motion For

Leave of Court filed by Defendant Saihat Corporation and it is ORDERED that Saihat is granted
leave of Court to file its Defendants Response to the Courts Order to show cause.

SIGNED on , 2020.

U.S. DISTRICT JUDGE .
